          Case 1:16-cr-00397-LTS Document 419 Filed 01/08/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


           -v-                                                 No. 16 CR 397 (LTS)
                                                                     ORDER
 NAJHEA SMITH,
                                Supervisee.



         IT IS HEREBY ORDERED THAT, on January 15, 2021, the United States Marshals

Service shall release Najhea Smith, Register Number 77822-054, from the cell block on the fourth

floor of the Daniel Patrick Moynihan United States Courthouse to the United States Probation

Officer, who will turn him over to a representative of Odyssey House for transport to a residential

drug treatment facility.

         IT IS FURTHER ORDERED that Essex County Jail will release Najhea Smith with a

supply of his currently prescribed medication for medical and psychiatric conditions.

SO ORDERED.

Dated:           January 8, 2021
                 New York, New York



                                                             /s/ Laura Taylor Swain
                                                            HON. LAURA TAYLOR SWAIN
                                                            U.S. DISTRICT COURT JUDGE
